                                                                              027,21*5$17('


                           IN THE UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                   )
                                           )        NO. 3:11-cr-00012-6
v.                                         )
                                           )        JUDGE SHARP
SHATIKA DIX                                )

                                 MOTION TO CONSOLIDATE

       Defendant, Shatika Dix, moves the Court for an order consolidating the United States

Probation Office’s April 16, 2014 memorandum and the March 31, 2014 petition for action on

conditions of release, for hearing on April 21, 2014 at 1:30 p.m. (Docket No. 2046). In support

defendant would show that the memorandum and petition for action should be consolidated

and all circumstances considered at the April 16, 2014 hearing. Defendant will be prepared to

respond and suggest remedy.



                                    RESPECTFULLY SUBMITTED,

                                    s/ Michael E. Terry
                                    MICHAEL E. TERRY (BPRN 3856)
                                    STEPHANIE H. GORE (BPRN 17080)

                                    Terry & Gore
                                    1200 16th Avenue, South
                                    Nashville, TN 37212
                                    (615) 321-2750 office
                                    (615) 250-4915 fax




Case 3:11-cr-00012      Document 2061          Filed 04/17/14   Page 1 of 1 PageID #: 10905
